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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


    IN RE TEVA SECURITIES LITIGATION                   No. 3:17-cv-00558 (SRU)
    ____________________________________

    THIS DOCUMENT RELATES TO:                          No. 3:19-cv-00657 (SRU)
                                                       No. 3:19-cv-00513 (SRU)
                                                       No. 3:19-cv-00655 (SRU)
                                                       No. 3:19-cv-00923 (SRU)
                                                       No. 3:19-cv-1167 (SRU)
                                                       No. 3:20-cv-0083 (SRU)


                                                       February 16, 2021

                        DEFENDANTS’ OPPOSITION TO REPOSE
                  PLAINTIFFS’ JOINT MOTION FOR RECONSIDERATION

          Pursuant to Local Rule 7(c), the Repose Defendants respectfully submit this opposition to

the motion for reconsideration (ECF 707) (the “Motion”) of this Court’s January 22, 2021 order

(ECF 689) (the “Order”) submitted by the Repose Plaintiffs. 1 Repose Defendants are prepared to

oppose the Motion on several grounds, but write to advise the Court of two threshold objections:

the Motion is untimely and predicated solely on an argument that has been waived.

          First, the Motion should be denied because it is untimely, as Repose Plaintiffs admit. See

Mot. at 3 n.2. Local Rule 7(c) requires that motions for reconsideration “shall be filed and served

within seven (7) days of the filing of the decision or order from which such relief is sought.” D.

Conn. L. Civ. R. 7(c). The Repose Plaintiffs filed the Motion on February 12, 2021 (ECF 707),

twenty-one days after the Order and fourteen days late under the rule. This Court has denied

motions for reconsideration that were similarly untimely. See, e.g., Derisme v. Hunt Leibert

Jacobson, P.C., No. 3:10-cv-244 (VLB), 2011 WL 5403056, at *1 (D. Conn. Nov. 8, 2011)


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    Capitalized terms used herein are as defined in the Order.
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(denying late-filed motion). In addition, Repose Plaintiffs neither obtained Repose Defendants’

position on the Motion nor identified the good cause necessary under Local Rule 7(b) to justify

the late filing. See, e.g., Buster v. City of Wallingford, No. 3:07-cv-00544 (JBA), 2008 WL

2782731, at *1 (D. Conn. July 7, 2008) (denying late-filed motion, where plaintiff failed to

ascertain opposing counsel’s position or satisfy the good cause requirement).

       Second, the Motion seeks reconsideration based solely on an argument that Repose

Plaintiffs waived. As the Court recognized, “before the hearing on the pending motion to dismiss,

the Repose Plaintiffs had never advanced a ‘scheme liability’ argument under Rule 10b-5(a) and

(c).” Order at 18. Any argument not raised in briefing is waived or forfeited. See Lami v. Stahl,

No. 3:05-cv-1416 (MRK), 2007 WL 3124834, at *1 (D. Conn. Oct. 25, 2007) (“It is well settled

that a failure to brief an issue is grounds to deem the claim abandoned.”); see also Local 1336,

Amalgamated Transit Union, AFL-CIO v. First Student, Inc., No. 3:11-cv-1463 (MPS), 2013 WL

646265, at *2 (D. Conn. Feb. 21, 2013) (holding that a plaintiff’s claim had been abandoned by

not being briefed on summary judgment). Thus, Repose Plaintiffs’ argument that the Court

“overlooked” Lorenzo v. S.E.C., 139 S. Ct. 1094 (2019) goes too far, as they never briefed any

scheme liability argument based on Lorenzo.

       For these reasons, Defendants respectfully request that this Court deny the Motion. In the

event that the Court is inclined to entertain the Motion and reconsider the Order, Defendants

respectfully request the opportunity to address the substantive deficiencies with the Motion, in a

briefing schedule as contemplated by Local Rule 7(c)(2), together with such other and further relief

as the Court deems proper. 2

                                      Respectfully submitted,
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  Defendants would also respectfully request that the time in which they need to “answer or
otherwise respond to the operative complaints in the Direct Actions” be postponed until 120 days
from the resolution of any reconsideration opinion.


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